


  ORDER
 

  On October 1, 2009, respondent pled guilty in the United States District Court for the Eastern District of Louisiana to conspiracy to commit wire fraud. Respondent now seeks to permanently resign from the practice of law in lieu of discipline. The Office of Disciplinary Counsel (“ODC”) has concurred in respondent’s petition.
 

  Having considered the Petition for Voluntary Permanent Resignation from the Practice of Law filed by Victor J. Dauterive, Jr., Louisiana Bar Roll number 4570, and the concurrence thereto filed by the ODC,
 

  IT IS ORDERED that the request of Victor J. Dauterive, Jr. for permanent resignation in lieu of discipline be and is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1 and Rule 5.5 of the Rules of Professional Conduct.
 

  IT IS FURTHER ORDERED that Victor J. Dauterive, Jr. shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which he is admitted to the practice of law; shall be permanently prohibited from seeking readmission to the practice of law in this state
   
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  or in any other jurisdiction in which he is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
 

  /s/ Jeffrey P. Victory Justice, Supreme Court of Louisiana
 
